         Executive Grant of Clemency
TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

        AFTER CONSIDERING THE APPLICATIONS for executive clemency of the
following named persons, I hereby commute the total sentence of imprisonment each of the
following named persons is now serving to expire on April 18, 2017, leaving intact and in effect
for each named person the term of supervised release imposed by the court with all its conditions
and all other components of each respective sentence:



       Demetri D. Alexander                         Reg. No. 11483-031
       Darrell Atkins                               Reg. No. 16622-039
       Handy Bailey, Jr.                            Reg. No. 21856-018
       Jason C. Brown                               Reg. No. 14077-026
       Theartis Daniels                             Reg. No. 42199-018
       Michael Leroy Darity                         Reg. No. 94673-071
       Curtis Drayton                               Reg. No. 09299-002
       George Ralph Ellis                           Reg. No. 25095-001
       Aaron Glasscock                              Reg. No. 11167-017
       Franklin Goodwin, Jr.                        Reg. No. 11806-031
       Daryl Lain Hook,                             Reg. No. 03471-063
         aka Darryl Lain Hook
       Harold Dean Jones                            Reg. No. 10411-039
       Dana William Lasich                          Reg. No. 08965-073
       Clinton Stanley Matthews,                    Reg. No. 25514-083
         aka Ian Bernard Matthew,
        aka Craig Jerrod Ingram,
        aka William Christopher Hinton
       Ralph McIver                                 Reg. No. 23137-004
       Jamael Aaron Nettles                         Reg. No. 09339-003
       Todd Alan Scofield                           Reg. No. 09695-073
       Terence Devon Scott                          Reg. No. 11904-084
       Stacia Smith                                 Reg. No. 14319-424
       Jerry Lee Thompson                           Reg. No. 22869-077
       Jaycee Williams, Jr.                         Reg. No. 06351-017
       Kevin Wise                                   Reg. No. 04561-000
       Harold Dwight Wooten                         Reg. No. 19191-057
       Delmar Anton Zeigler                         Reg. No. 13897-064



       I hereby commute the total sentence of imprisonment each of the following named
persons is now serving to expire on April 18, 2017. I also remit the unpaid balance of the fine
imposed by the court on each individual. I leave intact and in effect for each named person the
term of supervised release imposed by the court with all its conditions and all other components
of each respective sentence:

       Korell Ellis                                 Reg. No. 21008-056
       Willie Goudeau                               Reg. No. 13090-078
       Gerald Anthony Harris                        Reg. No. 69070-080
       Michael Dwayne Holmes                        Reg. No. 07030-078




Case 5:05-cr-00009-KDB-DCK          Document 1706         Filed 12/22/16     Page 1 of 4
        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 240 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Maurice Anderson                               Reg. No. 34064-177
       Amilcar Butler                                 Reg. No. 17854-075
       Leonard A. Clement                             Reg. No. 20417-058
       Anthony Timothy Dodd                           Reg. No. 06845-030
       Alpidio Gonzalez                               Reg. No. 06089-078
       Jeffrey Gray                                   Reg. No. 61190-066
       Derrick Isom                                   Reg. No. 05794-070
       Nathaniel Law                                  Reg. No. 27182-016
       Gerardo Leyva                                  Reg. No. 33519-177
       Raphael Marice Tinsley                         Reg. No. 06642-017
       Gary Dean White                                Reg. No. 20019-058

        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 300 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Peter Christian Boulette                       Reg. No. 24225-009
       Robert Joyner                                  Reg. No. 13667-171

        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 360 months' imprisonment, leaving intact and in
effect for each named person the term of supervised release imposed by the court with all its
conditions and all other components of each respective sentence:

       Darryl Jerome Baker                            Reg. No. 08196-018
       Milton DeJesus-Bones                           Reg. No. 29997-066
       Tammie Twyone Francis                          Reg. No. 05240-045
       Malcolm Hartzog                                Reg. No. 02391-043
       Stanley Knox                                   Reg. No. 10297-042
       Schearean Jean Means                           Reg. No. 19958-001

        I hereby further commute the total sentence of imprisonment each of the following
named persons is now serving to a term of 360 months' imprisonment, leaving intact and in
effect for each named person all other components of each respective sentence. I also direct the
Bureau of Prisons to place each of the following named persons on prerelease custody during the
final year of his incarceration:

       Gregory Anthony Collins                        Reg. No. 02209-025
       Paul Free                                      Reg. No. 42235-198
       Darnell L. Walker                              Reg. No. 35112-060

        I hereby further commute the total sentence of imprisonment imposed upon Billy Mel
Alford, Reg. No. 13555-077, to a term of 360 months' imprisonment. I also remit the unpaid
balance, if any, of the $150,000 fine imposed by the court that may remain when his term of
incarceration has expired. I leave intact and in effect the five-year term of supervised release
with all its conditions and all other components of the sentence.

        I hereby further commute the total sentence of imprisonment imposed upon
Antonio Jose Alonzo, Reg. No. 42830-079, to a term of 292 months' imprisonment, leaving
intact and in effect the 10-year term of supervised release with all its conditions and all other
components of the sentence.



Case 5:05-cr-00009-KDB-DCK           Document 1706         Filed 12/22/16      Page 2 of 4
        I hereby further commute the total sentence of imprisonment imposed upon Troy V.
Cleveland, Reg. No. 19684-083, to a term of 328 months' imprisonment, leaving intact and in
effect the five-year term of supervised release with all its conditions and all other components of
the sentence.


       I hereby further commute the total sentence of imprisonment imposed upon Gary Lee
Gordon, Reg. No. 09637-046, to expire on December 19, 2017, leaving intact and in effect the
10-year term of supervised release with all its conditions and all other components of the
sentence.


        I hereby further commute the total sentence of imprisonment imposed upon Cullen Reed
Harris, Reg. No. 01864-063, to a term of 420 months' imprisonment, leaving intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sentence.


       I hereby further commute the total sentence of imprisonment imposed upon Demetrius
Carvon Harris, Reg. No. 12774-041, to expire on June 17, 2017, leaving intact and in effect the
five-year term of supervised release with all its conditions and all other components of the
sentence.


        I hereby further commute the total sentence of imprisonment imposed upon Corey
Jacobs, Reg. No. 17061-112, to a term of 264 months' imprisonment, leaving intact and in
effect the five-year term of supervised release with all its conditions and all other components of
the sentence.


        I hereby further commute the total sentence of imprisonment imposed upon Timothy
Orlando Rainey, Reg. No. 05769-003, to a term of 235 months' imprisonment, leaving intact
and in effect the five-year term of supervised release with all its conditions and all other
components of the sentence.


         I hereby further commute the total sentence of imprisonment imposed upon Shawn
Sadler, aka Tangulifu M. Barber, aka Carlos T. Watts, Reg. No. 15497-171, to a term of 151
months' imprisonment, leaving intact and in effect the 10-year term of supervised release with
all its conditions and all other components of the sentence.


        I hereby further commute the total sentence of imprisonment imposed upon Terry Earl
Stewart, Reg. No. 46272-080, to a term of 327 months' imprisonment, leaving intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sentence.


        I hereby further commute the total sentence of imprisonment imposed upon Kenneth
Demon Terry, Reg. No. 32836-044, to expire on March 19, 2018, leaving intact and in effect
the four-year term of supervised release with all its conditions and all other components of the
sentence.


        I hereby further commute the total sentence of imprisonment imposed upon Billy Dee
Williams, Reg. No. 19872-058, to a term of 228 months' imprisonment, leaving intact and in
effect the 10-year term of supervised release with all its conditions and all other components of
the sentence.


Case 5:05-cr-00009-KDB-DCK           Document 1706         Filed 12/22/16      Page 3 of 4
        I HEREBY DESIGNATE, direct, and empower the Pardon Attorney, as my
representative, to deliver to the Bureau of Prisons a certified copy of the signed warrant as
evidence of my action in order to carry into effect the terms of these grants of clemency, and to
deliver a certified copy of the signed warrant to each of the persons to whom I have granted
clemency as evidence of my action.

       IN TESTIMONY WHEREOF I have hereunto signed my name and caused the seal of
the Department of Justice to be affixed.


                                                     Done at the City of Washington this
                                                     Nineteenth day of December in the year of
                                                     our Lord Two thousand and sixteen and of
                                                     the Independence of the United States the
                                                     two hundred and forty-first.




                                                        BARACK OBAMA
                                                           President




Case 5:05-cr-00009-KDB-DCK            Document 1706        Filed 12/22/16      Page 4 of 4
